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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES

 v.                                                    Case No. 1:20-cr-67-JDB

 MARIAM TAHA THOMPSON,
       Defendant.

              CONSENT MOTION TO CONTINUE DETENTION HEARING

        Mariam Thompson, by and through undersigned counsel, respectfully moves the Court

to continue the scheduled detention hearing currently scheduled for March 11, 2019, to April 1,

2020 at 1:45 p.m., or a date after that date convenient to the Court’s calendar. In support of this

motion, counsel states:

       1.      Ms. Thompson is charged by indictment with one count, respectively, of

Conspiracy to Deliver National Defense Information to Aid a Foreign Government, in violation

of 18 U.S.C. § 794(c); Delivering National Defense Information to Aid a Foreign Government,

in violation of 18 U.S.C. § 794(a); and Willful Retention of National Defense Information, in

violation of 18 U.S.C. § 793 (e).

       2.      Counsel is in the process of reviewing discovery necessary to prepare for a

detention hearing; that process is not yet complete.

       3.      AUSA John Cummings consents to this Motion.

       For the foregoing reasons, Mariam Thompson respectfully requests that the Court

continue the detention hearing in this case to April 1, 2020.
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                                                     Respectfully submitted,


                                                                     /s/
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of March, 2020, I caused a true and correct copy of
the foregoing Defendant’s Consent Motion to be delivered via CM/ECF to Assistant United
States Attorney John Cummings and DOJ Attorney Jennifer Gellie, United States Attorney’s
Office, 555 Fourth Street, NW, Washington, DC 20530.


                                                     ___________/s/__________________
                                                     David Benowitz




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